                                Case 23-01051-PDR                     Doc 68          Filed 04/29/23              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
Vital Pharmaceuticals, Inc.,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01051-PDR
Owoc,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Apr 27, 2023                                               Form ID: pdf004                                                           Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 29, 2023:
Recip ID                   Recipient Name and Address
ust                        Karina Montalvo, DOJ-Ust, 500 Tanca Street Ochoa Building, Suite 301, San Juan, PR 00901
ust                    +   Roslyn Tompkins, DOJ-Ust, 75 Ted Turner Dr, SW, Ste 362, Atlanta, GA 30303-3330
pla                    +   Bang Energy Canada, Inc., 1600 N. Park Dr., Weston, FL 33326-3278
pla                    +   JHO Intellectual Property Holdings, LLC, 1600 N. Park Dr., Weston, FL 33326-3278
pla                    +   JHO Real Estate Investment, LLC, 1600 N. Park Dr., Weston, FL 33326-3278
dft                    +   John H. Owoc, 16720 Stratford Court, Southwest Ranches, FL 33331-1358
dft                    +   Megan E. Owoc, 16720 Stratford Court, Southwest Ranches, FL 33331-1358
pla                    +   Quash Seltzer, LLC, 20311 Sheridan Street, Fort Lauderdale, FL 33332-2313
pla                    +   Rainbow Unicorn Bev LLC, 1600 N. Park Dr., Weston, FL 33326-3278
pla                    +   Vital Pharmaceuticals International Sales, Inc., 1600 N. Park Dr., Weston, FL 33326-3278
pla                    +   Vital Pharmaceuticals, Inc., 1600 N. Park Dr., Weston, FL 33326-3278

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      Guy Van Baalen, DOJ-Ust, 501 E. Polk Street,
                                                                                                                  Tampa, FL 33602-3949
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
ust                    + Email/Text: USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                        Apr 27 2023 22:28:00      U.S. Trustee, Office of the United States Trustee,
                                                                                                                  J. Caleb Boggs Federal Building, 844 King Street,
                                                                                                                  Suite 2207, Lockbox 35, Wilmington, DE
                                                                                                                  19801-3519
ust                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      U.S. Trustee., US Dept of Justice, Office of the US
                                                                                                                  Trustee, One Newark Center Ste 2100, Newark, NJ
                                                                                                                  07102-5235
ust                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, U.S. Federal Office Building, 201 Varick
                                                                                                                  Street, Room 1006, New York, NY 10014-7016
ust                    + Email/Text: ustpregion21.at.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      United States Trustee (cabrera), Office of the
                                                                                                                  United States Trustee, 75 Ted Turner Dr., Suite
                                                                                                                  362, Atlanta, GA 30303-3330
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      United States Trustee (davis), Office of the United
                                                                                                                  States Trustee, George C Young Federal Building,
                                                                                                                  400 West Washington Street, Suite 1100, Orlando,
                                                                                                                  FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      United States Trustee - (ennever), Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                        Apr 27 2023 22:28:00      United States Trustee - FTM7/13, Timberlake
                                                                                                                  Annex, Suite 1200, 501 E Polk Street, Tampa, FL
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District/off: 113C-0                                                  User: admin                                                          Page 2 of 3
Date Rcvd: Apr 27, 2023                                               Form ID: pdf004                                                    Total Noticed: 25
                                                                                                             33602-3949
ust                     + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                    Apr 27 2023 22:28:00     United States Trustee - JAX 13/7, Office of the
                                                                                                             United States Trustee, George C Young Federal
                                                                                                             Building, 400 West Washington Street, Suite 1100,
                                                                                                             Orlando, FL 32801-2210
ust                     + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                    Apr 27 2023 22:28:00     United States Trustee - ORL, Office of the United
                                                                                                             States Trustee, George C Young Federal Building,
                                                                                                             400 West Washington Street, Suite 1100, Orlando,
                                                                                                             FL 32801-2210
ust                     + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                    Apr 27 2023 22:28:00     United States Trustee - ORL7/13, Office of the
                                                                                                             United States Trustee, George C Young Federal
                                                                                                             Building, 400 West Washington Street, Suite 1100,
                                                                                                             Orlando, FL 32801-2210
ust                     + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                    Apr 27 2023 22:28:00     United States Trustee - TPA7/13, Timberlake
                                                                                                             Annex, Suite 1200, 501 E Polk Street, Tampa, FL
                                                                                                             33602-3949
clmag                   + Email/Text: cr-info@stretto.com
                                                                                    Apr 27 2023 22:27:00     Stretto, 410 Exchange, Ste. 100, Irvine, CA
                                                                                                             92602-1331

TOTAL: 14


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
ust                *+            United States Trustee - ORL7/13, Office of the United States Trustee, George C Young Federal Building, 400 West Washington
                                 Street, Suite 1100, Orlando, FL 32801-2210
ust                *+            United States Trustee - TPA7/13, Timberlake Annex, Suite 1200, 501 E Polk Street, Tampa, FL 33602-3949

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 29, 2023                                          Signature:          /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 27, 2023 at the address(es) listed below:
Name                               Email Address
Bradley S Shraiberg
                                   on behalf of Defendant John H. Owoc bss@slp.law dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg
                                   on behalf of Defendant Megan E. Owoc bss@slp.law dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Jordi Guso, Esq.
                                   on behalf of Plaintiff Rainbow Unicorn Bev LLC jguso@bergersingerman.com
                                   fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Jordi Guso, Esq.
                                   on behalf of Plaintiff JHO Intellectual Property Holdings LLC jguso@bergersingerman.com,
                                   fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com
                          Case 23-01051-PDR                  Doc 68          Filed 04/29/23             Page 3 of 5
District/off: 113C-0                                         User: admin                                                        Page 3 of 3
Date Rcvd: Apr 27, 2023                                      Form ID: pdf004                                                  Total Noticed: 25
Jordi Guso, Esq.
                           on behalf of Plaintiff Quash Seltzer LLC jguso@bergersingerman.com,
                           fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Jordi Guso, Esq.
                           on behalf of Plaintiff JHO Real Estate Investment LLC jguso@bergersingerman.com,
                           fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Jordi Guso, Esq.
                           on behalf of Plaintiff Vital Pharmaceuticals International Sales Inc. jguso@bergersingerman.com,
                           fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Jordi Guso, Esq.
                           on behalf of Plaintiff Vital Pharmaceuticals Inc. jguso@bergersingerman.com,
                           fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Jordi Guso, Esq.
                           on behalf of Plaintiff Bang Energy Canada Inc. jguso@bergersingerman.com,
                           fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com

Michael Jordan Niles
                           on behalf of Plaintiff Vital Pharmaceuticals Inc. mniles@bergersingerman.com,
                           efile@bergersingerman.com;efile@ecf.courtdrive.com;zmorton@bergersingerman.com

Patrick R Dorsey
                           on behalf of Defendant Megan E. Owoc pdorsey@slp.law dwoodall@slp.law;pmouton@slp.law;pdorsey@ecf.courtdrive.com

Patrick R Dorsey
                           on behalf of Defendant John H. Owoc pdorsey@slp.law dwoodall@slp.law;pmouton@slp.law;pdorsey@ecf.courtdrive.com


TOTAL: 12
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         ORDERED in the Southern District of Florida on April 26, 2023.



                                                     Peter D. Russin, Judge
                                                     United States Bankruptcy Court
_____________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

         In re:
                                                                    Case No. 22-17842-PDR
         Vital Pharmaceuticals, Inc.
                                                                    Chapter 11
                      Debtor(s)
                                                /

         Vital Pharmaceuticals, Inc., et. al.
                    Plaintiff(s)

         V                                                          Adv. No. 23-01051-PDR

         John H. Owoc, et. al.
                    Defendant(s)

                                                /


                            ORDER SETTING STATUS CONFERENCE
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        This matter came before the Court upon Defendant’s Emergency Motion for

Relief from Unauthorized Stipulated TRO (Adv. Doc. 55), Plaintiff’s Stipulation

Regarding Debtors' Motion for Temporary Restraining Order (Adv. Doc. 9) and The

Court’s Order Approving Stipulation Regarding Debtors Motion For Temporary

Restraining Order (Adv. Doc. 10).

The Court hereby ORDERS:

    1. The Court will conduct a status conference on May 1, 2023, at 2:00 P.M.

    2. The status conference will be non-evidentiary and conducted via Video

        Conference by Zoom for Government only.

    3. To participate in the hearing, you must register in advance no later than 3:00

        p.m., one business day before the date of the hearing. To register, click on or

        enter        the   following    registration     link    in     a     browser:

        https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ

        7QUKGhcZ7k

                                         ###

Copies To:
All parties in interest.




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